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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


GABRIEL J. GAMBLE, et al.,                     )
                                               )
                         Plaintiffs,           )
                                               )
                 vs.                           )       2:16cv308
                                               )       Electronic Filing
                                               )
DIRK MATS, Human Services                      )
Director, et al.,                              )
                                               )
                         Defendants.           )


                                       MEMORANDUM OPINION


          Pending before the court in the above-captioned matter are a motion for service of the

Amended Complaint (Doc. No. 12) and a motion for a hearing and appointment of counsel (Doc.

No. 15) filed by plaintiff Cynthia A. Gamble. For the reasons that follow, these motions will be

denied.

                                         I.   INTRODUCTION

          This case was commenced on February 24, 2016, in the United States District Court for

the Middle District of Pennsylvania by the filing of a complaint naming Gabriel J. Gamble

(hereafter, “Gabriel”) as the sole plaintiff and “The Department of Human Services,” “Exella

Health Hospital,” and Torrance State Hospital as defendants.1 (Doc. No. 1.) Gabriel was the

only plaintiff identified in the complaint, but his signature on that pleading was entered by his

1
  Torrance State Hospital is a public psychiatric hospital focused on providing progressive
treatment for persons who have serious mental illness, including those with a co-occurring
disorder. Its treatment mission focuses on successfully discharging individuals from an intense
hospital-based active treatment program staffed by licensed professionals to out-patient programs
managed by county mental health professionals. See
http://www.dhs.pa.gov/citizens/statehospitals/torrancestatehospital/ .
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mother, Cynthia A. Gamble (hereafter, “Cynthia”), acting as “rep-payee P.O.A.” (Id. at p. 6, ¶

V(A).) By order dated March 16, 2016, the Honorable Yvette Kane granted Gabriel’s

application to proceed in forma pauperis and transferred the case to this judicial district pursuant

to 28 U.S.C. §1404(a). (Doc. No. 7.)

          On October 27, 2016, an Amended Complaint (Doc. No. 6) was filed, designating

Gabriel, Cynthia, and “Kathy Vanwhy” as plaintiffs. The Amended Complaint, which serves as

the operative pleading in this case, designated a host of new defendants including “Human

Services Director, Dirk Mats,” “Excella Inpatient Mental Health,” Torrance State Hospital, and

some thirty other individuals. The Amended Complaint once again is signed by Cynthia on

Gabriel's behalf as “rep-payee P.O.A.” as well as in her own right. This pleading alleges, in

part, that:

          After being admitted to Exella [sic] Hospital Gabriel was given a DMPS test[2]
          which caused an [sic] concussion and he needed to go on thyroid medicine which
          he didn’t get right away and he begged for more food because this made him
          hungry all the time. This also caused an eye injury and from never receiving the
          proper eye glasses he is now nearsighted, crosseyed and has grayish blue eyes
          from being very toxic. They changed his meds every month for five years and
          denied him a gluten and diary [sic] free diet.

Amended Compl. at p. 11, ¶ III. It is alleged that the various named defendants covered up the

foregoing misconduct and engaged in “abuse and neglect” of Gabriel.


                                          I.     DISCUSSION

          Cynthia now moves this court for service of the Amended Complaint on the thirty-three

(33) named defendants. She also requests a hearing on the claims and seeks appointment of

counsel.

      A. Motion for Service

2
    This appears to be a test that measures heavy metal toxicity in the body.
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        The United States Court of Appeals for the Third Circuit has instructed the district courts

to utilize a two-step analysis to determine whether to direct service of a complaint where the

plaintiff seeks to proceed in forma pauperis. First, the court must determine whether the litigant

is indigent within the meaning of 28 U.S.C. § 1915(a). Second, the court must determine

whether the complaint is frivolous or malicious or otherwise fails to state a cognizable claim for

relief. Roman v. Jeffes, 904 F.2d 192, 194 n.1 (3d Cir. 1990); see 28 U.S.C. § 1915(e)(2)(B)(i)

and (ii).

        In this case, Judge Kane granted Gabriel’s in forma pauperis application prior to

transferring the case to this court. However, Cynthia and “Kathy Vanwhy” – the newly added

plaintiffs – have never applied for or been granted in forma pauperis status, nor have they paid

the necessary filing fee for purposes of proceeding with this case. For this reason alone, the

claims of Cynthia and Kathy Vanwhy are not properly before the court3 and Cynthia’s various

motions must therefore be denied. See Baxter v. Atl. Care Main Pomona Hosp., No. CIV. 13-

7876 RBK JS, 2015 WL 715012, at *2 (D.N.J. Feb. 19, 2015) (finding, in dicta, that additional

grounds existed to deny reopening of case where plaintiff had “never sought nor received in

3
  Moreover, it is not clear how Ms. Vanwhy has standing to pursue any of the grievances
outlined in the Amended Complaint. Notably, the pleadings are devoid of any reference to her or
her connection to the events in question. As far as this court can tell, Ms. Vanwhy’s only
connection to this litigation is that she witnessed Gabriel’s execution of the power-of-attorney
documents. See Exhibits in support of Application to Proceed in District Court without
Prepaying Fees or Costs (Doc. No. 2-1) at pp. 8-9, 13, 16.
   The court also notes that the Amended Complaint was signed only by Gabriel and Cynthia. In
order for Ms. Vanwhy to proceed in this case, she would also have to sign the pleading, because
Gabriel and Cynthia cannot litigate on her behalf. See Murray v. Toal, No. 14–1599, 2014 WL
4796426, at *2 (M.D. Pa. Sept. 26, 2014) (“[T]here is [a] ... well established common law rule
that non-attorneys cannot litigate the rights of others.”)(citation omitted); Gary v. Albino, No.
100886, 2010 WL 2546037, at *4 (D.N.J. June 21, 2010) (“Rule 11(a) of the Federal Rules of
Civil Procedure requires each pro se plaintiff to sign every pleading, written motion, or other
paper submitted to the Court with respect to his claims.”). Because Ms. Vanwhy has not signed
the Amended Complaint, paid the requisite filing fee, or applied for in forma pauperis status, her
claims are not properly before the court.
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forma pauperis status ... so as to permit the case to proceed for him under this specific civil

action number”); Edmonds v. Carteret Police Dept., No. 10–2304, 2010 WL 4929279, at *2

(D.N.J. Nov.30, 2010) (“Where multiple plaintiffs seek to proceed in forma pauperis ... all

plaintiffs must establish their inability to pay the filing fee.”).

        To the extent Cynthia is moving for service of the Amended Complaint on Gabriel’s

behalf, she has no authority to do so. “It is well-settled that ‘non-attorneys cannot litigate the

rights of others.’” Owens v. Credit Suisse Sec. (USA) LLC, No. CV 15-1485, 2015 WL 6175441,

at *2 (D.N.J. Oct. 20, 2015) (quoting Baxter v. Atlantic Care Main Pomona Hosp., No. 13–7876,

2015 WL 715012, at *2 (D.N.J. Feb. 19, 2015)). This prohibition applies notwithstanding the

fact that Cynthia is Gabriel’s mother and is allegedly acting under a power-of- attorney. See

Williams v. United States, 477 F. App’x. 9, 11 (3d Cir. 2012) (citations omitted) (“Faison

Williams’s power of attorney for her father may confer certain decision-making authority under

state law, but it does not permit her to represent him pro se in federal court.”); Hoover v. Wells

Fargo Bank, et al., Civ. A. No. 14-139, Doc. No. 2 (W.D. Pa. Jan. 30, 2014) (quoting same); see

also Osei-Afriyie ex rel Osei-Afriyie v. Med. Coll. of Pa., 937 F.2d 876, 882-83 (3d Cir. 1991)

(holding that a non-attorney parent could not proceed pro se on behalf of his children in federal

court). Thus, Cynthia’s motion for service of the Amended Complaint must be denied on this

basis as well.

    B. Section 1915(e)(2)(B) Review

        Given that Gabriel’s in forma pauperis application was previously granted, the court

must determine whether his claims are frivolous or malicious. Roman, 904 F.2d at 194 n.1. In

Neitzke v. Williams, 490 U.S. 319 (1989), the Supreme Court identified two types of legally

frivolous complaints: (1) those based upon indisputably meritless legal theory, and (2) those

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with factual contentions which clearly are baseless. Id. at 327. An example of the first is where

a defendant enjoys immunity from suit, and an example of the second is a claim describing a

factual scenario which is fanciful or delusional. Id. In addition, Congress has expanded the

scope of § 1915 to require that, before directing service of a complaint, courts evaluate whether

the complaint states a claim upon which relief can be granted; if it does not, the action must be

dismissed. 28 U.S.C. § 1915(e)(2)(B)(ii).

       Rule 8 of the Federal Rules of Civil Procedure requires that a pleading contain: (1) a

short and plain statement of the grounds for the court's jurisdiction, (2) a short and plain

statement of the claim showing that the pleader is entitled to relief, and (3) a demand for the

relief sought. Fed. R. Civ. P. 8(a). To comply with Rule 8, a complaint must contain factual

content that is sufficient to state a plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); Rieco v. Bronsburg, No. 15-2010, 2017 WL 34469, at *3 (3d Cir. Jan. 4, 2017). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 663 (2009).

       In contrast, setting forth averments that only offer “labels or conclusions or a formulaic

recitation of the elements of a cause of action will not do,” nor will advancing only factual

allegations that are “merely consistent with a defendant's liability.” Iqbal, 556 U.S. at 663

(internal quotation marks and citation omitted). Similarly, tendering only “naked assertions” that

are devoid of “further factual enhancement” falls short of presenting sufficient factual content to

permit an inference that what has been presented is more than a mere possibility of misconduct.

Id.; see also Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 563 n. 8 (2007) (A complaint states a

claim where its factual averments sufficiently raise a “reasonably founded hope that the

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[discovery] process will reveal relevant evidence to support the claim.”) (internal quotation

marks and citation omitted); accord Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d

Cir. 1997) (a court need not credit “bald assertions” or “legal conclusions” in assessing a motion

to dismiss) (citing with approval Charles Alan Wright & Arthur R. Miller, FEDERAL PRACTICE

AND PROCEDURE § 1357 (3d ed. 1997)) (“courts, when examining 12(b)(6) motions, have

rejected 'legal conclusions,' 'unsupported conclusions,' 'unwarranted inferences,' 'unwarranted

deductions,' 'footless conclusions of law,' or 'sweeping legal conclusions cast in the form of

factual allegations.”').

         In assessing whether a complaint states a viable claim for relief, the court accepts as true

all well-pled factual allegations and all reasonable inferences that can be drawn therefrom, and

views them in the light most favorable to the non-moving party. Rocks v. City of Phila., 868

F.2d 644, 645 (3d Cir. 1989). In addition, pro se complaints must be construed liberally.

McNeil v. United States, 508 U.S. 106, 113 (1993); Higgins v. Beyer, 293 F.3d 683, 688 (3d Cir.

2002).

         Here, the court construes the pro se Amended Complaint liberally and assumes that

Gabriel is attempting to state a claim under 42 U.S.C. §1983 for the alleged violation of his civil

rights. The court further assumes that Gabriel might be attempting to assert claims for medical

negligence and/or conspiracy.

         In order to state a claim under 42 U.S.C. §1983, the plaintiff must allege facts that

establish the violation of a federal statutory or constitutional right by a person acting under color

of state law. West v. Atkins, 487 U.S. 42, 48 (1988). The liability of an individual defendant

cannot be premised on principles of respondeat superior; instead, the plaintiff must establish the

defendant’s personal involvement in the alleged wrongdoing. See Phelps v. Flowers, 514 F.

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App’x 100, 102 (3d Cir. 2013); Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988). “A

plaintiff makes sufficient allegations of a defendant's personal involvement by describing the

defendant's participation in or actual knowledge of and acquiescence in the wrongful conduct.”

Chavarriaga v. New Jersey Dept. of Corrs., 806 F.3d 210, 222 (3d Cir. 2015).

       To the extent the Amended Complaint alleges bodily harm to Gabriel at the hands of state

actors, the Court construes the pleading as alleging a violation of Gabriel’s right to substantive

due process of law. Insofar as the Amended Complaint alleges that various individuals “covered

up” wrongful conduct or sources of medical harm to Gabriel, the Court assumes that Gabriel is

asserting a claim for conspiracy.

       The Due Process Clause of the Fourteenth Amendment prohibits the states from

depriving any person of life, liberty, or property, without due process of law. U.S. CONST.

amend. XIV, §1. In order to state a substantive due process claim, a plaintiff must demonstrate

that: (1) the particular interest at issue is protected by the substantive due process clause and (2)

the government's deprivation of that protected interest shocks the conscience. Lear v. Zanic, 524

F. App’x 797, 801-802 (3d Cir. 2013). Only the most egregious official conduct can be

considered “conscience shocking.” Newman v. Beard, 617 F.3d 775, 782 (3d Cir. 2010). As a

general matter, the due process clause does not impose an affirmative obligation on states to

protect individuals from private sources of harm. See DeShaney v. Winnebago Cnty. Dep't of

Social Servs., 489 U.S. 189, 197 (1989). However, there are two exceptions to this rule: the first

is the “special relationship” exception, which applies where the state takes a person into its

custody and holds him there against his will4; the second is the “state-created danger” exception,


4
 When a state holds an individual in custody against his will, the Constitution imposes upon it a
corresponding duty to assume some responsibility for the individual’s safety and general well-
being. Morrow v. Balaski, 719 F.3d 160, 167 (3d Cir. 2013) (citing Estelle v. Gamble, 429 U.S.
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which imposes an affirmative duty on the part of the state to protect an individual if the state's

own actions create the very danger that causes individual’s injury.5 See Morrow v. Balaski, 719

F.3d 160, 166–67 (3d Cir.2013).

        In this case, the Amended Complaint summarily alleges, without any clarifying context,

that Gabriel was “abused” and “neglected,” that he was denied food and necessary medical

attention, and that the harmful effects of a “D.P.M.S. test” were covered up or not properly

investigated. An individual's right to bodily integrity is recognized as a fundamental right and

liberty interest protected by substantive due process. Washington v. Glucksberg, 521 U.S. 702,

720 (1997); Black by Black v. Indiana Area Sch. Dist., 985 F.2d 707, 709, n.1 (3d Cir. 1993).

Thus, to the extent Gabriel is attempting to allege affirmative wrongdoing on the part of state

actors which resulted in a violation of his bodily integrity, it is theoretically possible that he

could demonstrate a substantive due process violation. Similarly, to the extent that Gabriel is



97, 103 (1976) (state required to provide adequate medical care to prisoners), and Youngberg v.
Romeo, 457 U.S. 307, 324 (1982) (state required to ensure the reasonable safety of involuntarily
committed mental patients)). This duty to protect does not arise from the state's knowledge of the
individual's predicament or its expression of intent to help, but rather from the limits the state
imposes on an individual's ability to act on his own behalf. Id. at 168.
  Custody is the key aspect of a “special relationship,” meaning “full time severe and continuous
state restriction of liberty.” D.R. by L.R. v. Middle Bucks Area Vocational Tech. Sch., 972 F.2d
1364, 1371 (3d Cir.1992) (characterizing those so restrained as unable to provide for themselves,
to seek outside help to meet their basic needs, or to leave). The custody must be both
involuntary and comprehensive. Torisky v. Schweiker, 446 F.3d 438, 445 (3d Cir.2006)
(explaining these concepts in the context of foster care placement).
5
 To prevail under a “state created danger” theory, a plaintiff must show that: (1) the harm
ultimately caused was foreseeable and fairly direct, (2) a state actor acted with a degree of
culpability that shocks the conscience, (3) a relationship between the state and the plaintiff
existed such that the plaintiff was either a foreseeable victim of the defendant's acts or a member
of a discrete class of persons subjected to the potential harm brought about by the state's actions,
as opposed to a member of the general public, and (4) a state actor affirmatively used his
authority in a way that created a danger to the individual or that rendered the individual more
vulnerable to danger than had the state not acted at all. Bright v. Westmoreland Cnty., 443 F.3d
276, 281 (3d Cir. 2006).
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attempting to allege a violation of his bodily integrity at the hands of private individuals or

nongovernmental entities, it is theoretically possible that Gabriel could demonstrate a substantive

due process violation on the part of relevant state officials if he can demonstrate either a “special

relationship” or “state created danger.”

       At present, however, Gabriel’s pleading rests on mere conclusory allegations that a

number of individuals abused and neglected him, deprived him of food, denied him necessary

treatment, and/or covered up the results of his medical tests. Lacking from the Amended

Complaint are factual, non-conclusory averments that plausibly demonstrate the personal

involvement of each named defendant in the alleged wrongdoing. It is unclear, for example,

what the original source of Gabriel’s medical harm was, who specifically perpetrated it, and

when. In addition, it is unclear whether the various named defendants are private actors or state

actors. To the extent Gabriel’s complaint is premised upon allegations of inaction by state

actors, he has not pled facts to show there was an affirmative duty on the part of the named

defendants to protect him from harm. Consequently the Amended Complaint, as currently pled,

is insufficient to allege a viable substantive due process violation.

       The Amended Complaint also fails to state a plausible claim for conspiracy. “In order to

state a § 1983 conspiracy claim, a plaintiff must allege that persons acting under color of state

law conspired to deprive him of a federally protected right.” Fallen, v. City of Newark, No. CV

15-2286, 2017 WL 368500, at *5 (D.N.J. Jan. 24, 2017) (internal quotation marks and citation

omitted). “The allegations of conspiracy must provide some factual basis to support the

existence of the elements of a conspiracy: agreement and concerted action.’” Id. (quoting

Capogrosso v. Supreme Court of New Jersey, 588 F.3d 180, 184 (3d Cir. 2009)). Similarly,

claims for civil conspiracy under Pennsylvania law require “(1) a combination of two or more

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persons acting with a common purpose to do an unlawful act or to do a lawful act by unlawful

means or for an unlawful purpose, (2) an overt act done in pursuance of the common purpose,

and (3) actual legal damage.” Phillips v. Selig, 959 A.2d 420, 436 (Pa. Super. Ct. 2008). Here,

the Amended Complaint offers only conclusory averments that various defendants attempted to

“cover up” neglect, abuse, or the denial of medical treatment. No facts have been alleged that

would permit a reasonable inference to be drawn that there was an agreement among specified

individuals to deprive Gabriel of his federal rights or otherwise engage in unlawful conduct.

       Similarly, to the extent Gabriel is attempting to assert a claim for medical malpractice

under Pennsylvania law, such claim is insufficiently pled. Under Pennsylvania law, any

complaint asserting professional negligence must be supported by a certificate of merit. See Pa.

R. Civ. P. 1042.3 (requiring a person who brings a claim of medical malpractice or medical

negligence to file an appropriate certificate of merit either within the complaint or within sixty

(60) days after filing the complaint); Peraza v. Helton, No. 3:CV-12-1306, 2016 WL 6442254, at

*7 (M.D. Pa. Nov. 1, 2016) (discussing and applying Rule 1042.3; dismissing plaintiff’s

complaint without prejudice because he had not submitted a proper Rule 1042.3 certificate of

merit or otherwise indicated that he had retained an expert witness).

       In sum, because the Amended Complaint lacks sufficient factual content to state a viable

basis for relief, it must be dismissed. Service of the Amended Complaint would be improper and

must be denied.


   C. Motion for a Hearing and Appointment of Counsel

       As noted, Cynthia has filed a motion for a hearing on her claims and for appointment of

counsel. In civil cases, neither the Constitution nor any statute gives civil litigants the right to

appointed counsel. Parham v. Johnson, 126 F.3d 454, 456-57 (3d Cir. 1997). Nevertheless,
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district courts have broad discretion to determine whether appointment of counsel is appropriate

under 28 U.S.C. § 1915(e). Montgomery v. Pinchack, 294 F.3d 492, 498 (3d Cir. 2002) (citing

Tabron v. Grace, 6 F.3d 147, 153 (3d Cir. 1993)). Under the law of this circuit, the district court

must first assess “whether the claimant's case has some arguable merit in fact and law.”

Montgomery, 294 F.3d at 499 (citing Tabron, 6 F.3d at 155). If the applicant's claim has some

merit, the Court considers additional factors, to wit:

       (1) the plaintiff's ability to present his or her own case;

       (2) the complexity of the legal issues;

       (3) the degree to which factual investigation will be necessary and the ability of

       the plaintiff to pursue such investigation;

       (4) the amount a case is likely to turn on credibility determinations;

       (5) whether the case will require the testimony of expert witnesses;

       (6) whether the plaintiff can attain and afford counsel on his own behalf.

Parham, 126 F.3d at 457-58 (citing Tabron, 6 F.3d at 155-56, 157 n.5).

       As noted, Cynthia has neither submitted an application to proceed in forma pauperis in

this matter nor paid the filing fee, so her “claims” are not properly before the court. In addition,

the court cannot fully assess whether Gabriel’s claims have colorable merit because the

Amended Complaint lacks sufficient content to state a plausible claim for relief under federal or

state law. Accordingly, the Amended Complaint must be dismissed, and Cynthia’s motions for a

hearing and for appointment of counsel must also be denied. An appropriate order follows.

Date: August 22, 2017

                                                         s/David Stewart Cercone
                                                         David Stewart Cercone
                                                         United States District Judge

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cc:   Cynthia A. Gamble &
      Gabriel J. Gamble
      c/o Cynthia A. Gamble
      1765 Skyline Drive, Apt. 18
      Pittsburgh, PA 15227

      (Via First Class U.S. Mail)




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